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UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
UNITED STATES OF AMERICA
Vv. Case No. 6:08-cr-176-Orl-28GJK
(Forfeiture)

FRANK L. AMODEO

PRELIMINARY ORDER OF FORFEITURE FOR $565,172.67, THE NET
PROCEEDS OF THE SALE OF 614 LAKE AVENUE, ORLANDO, FLORIDA

THIS CAUSE comes before the Court upon the filing of the United States’ Motion
for Entry of a Preliminary Order of Forfeiture, which, upon entry, shall become a final
order of forfeiture as to the defendant, Frank L. Amodeo’s, right, title, and interest in
$565,172.67, the net proceeds of the sale of 614 Lake Avenue, Orlando, Florida. The
Court, being fully advised in the premises, hereby finds as follows:

1. Pursuant to his plea agreement, the defendant agreed to the forfeiture of
his interest in any property constituting or derived from proceeds obtained directly or
indirectly as a result of the conspiracy charged in Count One.

2. The defendant now consents to the forfeiture of the $565,172.67 in net
proceeds of the sale of Lake Avenue property, having indicated that his plea agreement
incorrectly reflected his right to challenge the forfeiture of the Lake Avenue property.
Specifically, the defendant does not dispute that the net sale proceeds constitute
property traceable to proceeds obtained as a result of the conspiracy charged in Count
One, namely diverted payroll tax funds paid by the clients of the PEOs that the

defendant and his co-conspirators controlled.
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3. That, pursuant to the provisions of 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. §
2461(c), and Fed. R. Crim. P. 32.2(b)(2), the United States is entitled to the forfeiture of
the $565,172.67.

Being fully advised in the premises, the Court finds:

WHEREAS, the United States is now entitled to possession of the $565,172.67,
pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and Rule 32.2 of the
Federal Rules of Criminal Procedure;

It is hereby ORDERED, ADJUDGED and DECREED:

1. That all right, title and interest of defendant, Frank L. Amodeo, in the
$565,172.67, the net proceeds of the sale of 614 Lake Avenue, Orlando, Florida, is
hereby forfeited to the United States for disposition in accordance with the law, subject
to the provisions of 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c).

2. That any person, other than Frank L. Amodeo, who has or claims any
right, title or interest in the above-described asset must file a petition with this Court for
a hearing to adjudicate the validity of his alleged interest in the forfeited asset. The
petition should be mailed to the Clerk of the United States District Court, Orlando
Division, 401 W. Central Blvd., Suite 1200, Orlando, Florida 32801-0120, within thirty
(30) days of the final publication of notice or of receipt of actual notice, whichever is
earlier.

3. The petition shall be signed by the petitioner under penalty of perjury, and
shall set forth the nature and extent of the petitioner's right, title or interest in the

forfeited asset, the time and circumstances of the petitioner's acquisition of the right,
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title or interest in the forfeited asset, and any additional facts surrounding the
petitioner's claim and the relief sought.

4. After receipt of the petition by the Court, the Court will set a hearing to
determine the validity of the petitioner's alleged interest in the forfeited asset.

5. That upon adjudication of all third-party interests in the above-described
asset, this Court will enter a Final Judgment of Forfeiture pursuant to 18 U.S.C. §
981(a)(1)(C) and 28 U.S.C. § 2461(c), in which all interests will be addressed.

DONE and ORDERED this Ly day of _4 pel , 2009, in Orlando, Florida.

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